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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA

DIANE GONZALEZ,
individually and on behalf of all
others similarly situated,                                      CLASS ACTION

        Plaintiff,                                              JURY TRIAL DEMANDED

v.

ANTHEM INSURANCE COMPANIES, INC.,

      Defendant.
_________________________________________/

                                    CLASS ACTION COMPLAINT

        Plaintiff Diane Gonzalez brings this class action against Defendant Anthem Insurance

Companies, Inc. and alleges as follows upon personal knowledge as to herself and her own acts

and experiences, and, as to all other matters, upon information and belief, including investigation

conducted by her attorneys.

                                     NATURE OF THE ACTION

        1.      This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 et seq., (“TCPA”), arising from Defendant’s knowing and willful violations of the TCPA.

        2.      Defendant is a provider of health insurance and is the largest for-profit managed health

care company in the Blue Cross Blue Shield Association. Defendant has approximately 40 million

members.

        3.      Defendant utilized prerecorded messages to place calls to Plaintiff and members of the

Class (defined below) to promote its products and services as part of its marketing strategy.

        4.      Defendant caused thousands of calls to be placed to the cellular telephones of Plaintiff

and Class Members, causing them injuries, including invasion of their privacy, aggravation, annoyance,

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intrusion on seclusion, trespass, and conversion.

        5.        Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct.

Plaintiff also seeks statutory damages on behalf of himself and Class Members, as defined below, and

any other available legal or equitable remedies resulting from the illegal actions of Defendants.

                                     JURISDICTION AND VENUE

        6.        Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

which will result in at least one Class member belonging to a different state than Defendant. Plaintiff

seeks up to $1,500.00 in damages for each call that is in violation of the TCPA, which, when aggregated

among a proposed class numbering in the tens of thousands, or more, exceeds the $5,000,000.00

threshold for federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

        7.        Venue is proper in the United States District Court for the Southern District of Indiana

pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendants are deemed to reside in any judicial district

in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

its services within this district thereby establishing sufficient contacts to subject it to personal

jurisdiction.

                                                  PARTIES

        8.        Plaintiff is a natural person who, at all times relevant to this action, was a citizen of the

State of Texas.

        9.        Defendant is an Indiana profit corporation with its principal place of business located at

120 Monument Circle, Indianapolis, In, 46204. Defendant directs, markets, and provides its business

activities throughout the State of Indiana and nationwide.




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                                              THE TCPA

        10.     The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

an automatic telephone dialing system or an artificial or prerecorded message; (3) without the recipient’s

prior express consent. 47 U.S.C. § 227(b)(1)(A).

        11.     The TCPA exists to prevent communications like the ones described within this

Complaint. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

        12.     In an action under the TCPA, a plaintiff must show only that the defendant “called a

number assigned to a cellular telephone service using an automatic dialing system or prerecorded

voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

F.3d 1265 (11th Cir. 2014).

        13.     The Federal Communications Commission (“FCC”) is empowered to issue rules and

regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

they pay in advance or after the minutes are used.

        14.     In 2012, the FCC issued an order further restricting automated telemarketing calls,

requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of Rules

& Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb.

15, 2012) (emphasis supplied).

        15.     To obtain express written consent for telemarketing calls, a defendant must establish

that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

disclosure’ of the consequences of providing the requested consent….and [the plaintiff] having received


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this information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

        16.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

        17.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

        18.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

820 (citing 47 C.F.R. § 64.1200(a)(2)(iii) & 47 C.F.R. § 64.1200(f)(12)); In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

WL 21517853, at *49).

        19.     The FCC has explained that calls motivated in part by the intent to sell property, goods,

or services are considered telemarketing under the TCPA.           See In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

services during the call or in the future. Id.

        20.     In other words, offers “that are part of an overall marketing campaign to sell

property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and


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Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

(2003).

          21.   If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

“for non-telemarketing and non-advertising calls”).

                                                FACTS

          22.   On or about April 26, 2019, April 30, 2019, May 3, 2019, May 6, 2019, May 13, 2019,

May 14, 2019, May 15, 2019, May 23, 2019, May 28, 2019, May 31, 2019, July 30, 2019, October 18,

2019, October 21, 2019, October 22, 2019, October 29, 2019, October 30, 2019, November 4, 2019,

November 8, 2019, November 11, 2019, November 18, 2019 and November 21, 2019, Defendant

transmitted the following or substantially similar unsolicited prerecorded calls to Plaintiff’s cellular

telephone number ending in 8805 (the “8805 Number”):

                Hello this is a call from Anthem, your health insurance provider with an
                important message. I’m sorry to miss you, we will try again later and
                can assist with any health needs that you may have. We look forward to
                hearing from you. To avoid future calls such as this, please contact us
                toll free 844-883-7778.

          23.   The 844-883-7778 number provided in the messages leads to Defendant’s “early

intervention teams Medicare health assessment completion line.” This number operates as a number

for potential customers to contact Defendant and purchase its goods and/or services.

          24.   Defendant’s prerecorded calls constitute telemarketing because they encouraged the

future purchase, sell, or investment in property, goods, and/or services, i.e., the general promotion of

the Defendant’s insurance products.

          25.   Specifically, the prerecorded messages attempt to solicit Plaintiff to become a client of


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Defendant’s services for which Defendant would then make a profit.

        26.     The prerecorded telemarketing calls originated from telephone numbers owned and/or

operated by or on behalf of Defendant.

        27.     At no point in time did Plaintiff provide Defendant with her express consent to be

contacted by prerecorded message.

        28.     Defendant is not Plaintiff’s insurance provider.

        29.     Plaintiff is the subscriber and/or sole user of the 8805 Number.

        30.     The 8805 Number is for personal use.

        31.     Plaintiff ‘s 8805 Number has been registered on the National Do Not Call Registry since

August 30, 2018.

        32.     Defendant’s prerecorded messages caused Plaintiff actual harm, including invasion of

her privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

prerecorded messages also inconvenienced Plaintiff and caused disruption to her daily life.

        33.     Furthermore, Defendant’s prerecorded messages took up memory space on Plaintiff’s

cellular telephone, with each message taking up approximately 53 kilobytes. The cumulative effect of

unsolicited prerecorded messages like Defendants’ poses a real risk of ultimately rendering the phone

unusable for text messaging purposes as a result of the phone’s memory being taken up.

        34.     Defendant’s prerecorded messages also caused the depletion of Plaintiff’s cellular

telephone battery. The battery used to power Plaintiff’s cellular telephone can only be recharged a

limited number of times before the battery’s voltage begins to decrease, causing the cellular phone to

turn off completely, without warning, if the battery drops below the minimum voltage needed to safely

power Plaintiff’s cellular telephone.




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                                       CLASS ALLEGATIONS

              PROPOSED CLASS

        35.      Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

himself and all others similarly situated.

        36.      Plaintiff brings this case on behalf of the below defined Class:

                 No Consent Class: All persons within the United States who, within
                 the four years prior to the filing of this Complaint, were called by
                 Defendant or anyone on Defendant’s behalf, to said person’s
                 cellular or residential telephone number, using prerecorded or
                 artificial voice messages similar to the messages sent to Plaintiff.

                 Do Not Call Registry Class: All persons in the United States who
                 from four years prior to the filing of this action (1) were called by
                 or on behalf of Defendant; (2) more than one time within any 12-
                 month period; (3) where the person’s telephone number had been
                 listed on the National Do Not Call Registry for at least thirty days;
                 (4) for the purpose of selling Defendant’s products and/or services.


        37.      Defendant and their employees or agents are excluded from the Class. Plaintiff does not

know the number of members in the Class but believes the Class members number in the several

thousands, if not more.

           NUMEROSITY

        38.      Upon information and belief, Defendant has placed calls to cellular telephone numbers

belonging to thousands of consumers throughout the United States without their prior express consent.

The members of the Class, therefore, are believed to be so numerous that joinder of all members is

impracticable.

        39.      The exact number and identities of the Class members are unknown at this time and can

be ascertained only through discovery. Identification of the Class members is a matter capable of

ministerial determination from Defendants’ call records.

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              COMMON QUESTIONS OF LAW AND FACT

        40.      There are numerous questions of law and fact common to the Class which predominate

over any questions affecting only individual members of the Class. Among the questions of law and

fact common to the Class are:

                     (1) Whether Defendant made non-emergency calls to Plaintiff and Class members’

                         cellular telephones using prerecorded messages;

                     (2) Whether Defendant can meet their burden of showing that they obtained prior

                         express written consent to make such calls;

                     (3) Whether Defendant’s conduct was knowing and willful;

                     (4) Whether Defendant is liable for damages, and the amount of such damages; and

                     (5) Whether Defendant should be enjoined from such conduct in the future.

        41.      The common questions in this case are capable of having common answers. If Plaintiff’s

claim that Defendants routinely calls telephone numbers assigned to cellular telephone services is

accurate, Plaintiff and the Class members will have identical claims capable of being efficiently

adjudicated and administered in this case.

              TYPICALITY

        42.      Plaintiff’s claims are typical of the claims of the Class members, as they are all based

on the same factual and legal theories.

              PROTECTING THE INTERESTS OF THE CLASS MEMBERS

        43.      Plaintiff is a representative who will fully and adequately assert and protect the interests

of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

and will fairly and adequately protect the interests of the Class.




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                SUPERIORITY

          44.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

Class are in the millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

and, even if every member of the Class could afford individual litigation, the court system would be

unduly burdened by individual litigation of such cases.

          45.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

one court might enjoin Defendant from performing the challenged acts, whereas another may not.

Additionally, individual actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.

                                             COUNT I
                            Violations of the TCPA, 47 U.S.C. § 227(b)
                         (On Behalf of Plaintiff and the No Consent Class)

          46.     Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

herein.

          47.     It is a violation of the TCPA to make “any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using any

automatic telephone dialing system or prerecorded or artificial voice… to any telephone number

assigned to a … cellular telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).




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        48.     Defendant – or third parties directed by Defendant – used artificial voice or

 prerecorded messages to make non-emergency marketing telephone calls to the cellular telephones

 of Plaintiff and other members of the Class.

        49.     These calls were made without regard to whether Defendant had first obtained

 express written consent from the called party to make such calls. In fact, Defendant did not have

 prior express written consent to call the cell phones of Plaintiff and the other members of the

 putative Class when its calls were made.

        50.     Defendant violated § 227(b)(1)(A)(iii) of the TCPA by using artificial voice or

 prerecorded messages to make non-emergency telephone calls to the cell phones of Plaintiff and

 the other members of the putative Class without their prior express consent.

        51.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

 Plaintiff and the other members of the putative Class were harmed and are each entitled to a

 minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

 injunction against future calls.

                                            COUNT II
                           Violation of the TCPA, 47 U.S.C. § 227
                   (On Behalf of Plaintiff and the Do Not Call Registry Class)

        52.     Plaintiff repeats and realleges the paragraphs 1 through 45 of this Complaint and

 incorporates them by reference herein.

        53.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

 person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

 who has registered his or her telephone number on the national do-not-call registry of persons who

 do not wish to receive telephone solicitations that is maintained by the federal government.”




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        54.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

 person or entity making telephone solicitations or telemarketing calls to wireless telephone

 numbers.”

        55.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any

 call for telemarketing purposes to a residential telephone subscriber unless such person or entity

 has instituted procedures for maintaining a list of persons who request not to receive telemarketing

 calls made by or on behalf of that person or entity.”

        56.     Any “person who has received more than one telephone call within any 12-month

 period by or on behalf of the same entity in violation of the regulations prescribed under this

 subsection may” may bring a private action based on a violation of said regulations, which were

 promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

 solicitations to which they object. 47 U.S.C. § 227(c).

        57.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

 telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

 Class members who registered their respective telephone numbers on the National Do Not Call

 Registry, a listing of persons who do not wish to receive telephone solicitations that is maintained

 by the federal government.

        58.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

 Registry Class received more than one telephone call in a 12-month period made by or on behalf

 of Defendants in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendants’

 conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered actual damages

 and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages for

 such violations of 47 C.F.R. § 64.1200.


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           59.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

 Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

 recoverable by the members of the Do Not Call Registry Class.

           WHEREFORE, Plaintiff Diane Gonzalez, on behalf of herself and the other members of

 the Class, prays for the following relief:

           a.      A declaration that Defendant’s practices described herein violate the Telephone

 Consumer Protection Act, 47 U.S.C. § 227;

           b.      A declaration that Defendant’s violations of the Telephone Consumer Protection

 Act, 47 U.S.C. § 227, were willful and knowing;

           c.      An injunction prohibiting Defendant from using artificial voice or prerecorded

 messages to call telephone numbers assigned to cellular telephones without the prior express

 consent of the called party;

           d.      An award of actual, statutory damages, and/or trebled statutory damages; and

           e.      Such further and other relief the Court deems reasonable and just.

                                             JURY DEMAND

            Plaintiff and Class Members hereby demand a trial by jury.

                              DOCUMENT PRESERVATION DEMAND

           Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

 databases or other itemization of telephone numbers associated with Defendant and the calls as alleged

 herein.




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 Date: December 30, 2019.

                                                Respectfully submitted,

                                                HIRALDO P.A.

                                                /s/ Manuel S. Hiraldo
                                                Manuel S. Hiraldo
                                                Florida Bar No. 030380
                                                401 E. Las Olas Boulevard
                                                Suite 1400
                                                Ft. Lauderdale, Florida 33301
                                                Email: mhiraldo@hiraldolaw.com
                                                Telephone: 954.400.4713

                                                and

                                                EISENBAND LAW, P.A.
                                                Michael Eisenband
                                                Florida Bar No. 94235
                                                515 E. Las Olas Boulevard, Suite 120
                                                Ft. Lauderdale, Florida 33301
                                                Email:
                                                MEisenband@Eisenbandlaw.com
                                                Telephone: 954.533.4092

                                                Counsel for Plaintiff




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